                                 UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                     STATESVILLE DIVISION
                                         5:23-cv-196-MOC


WENDELL JUDE LEMAITRE,              )
                                    )
                    Plaintiff,      )
                                    )
vs.                                 )                                        ORDER
                                    )
D. PARLIER, et al.,                 )
                                    )
                    Defendants.     )
____________________________________)

           THIS MATTER is before the Court on the Plaintiff’s pro se Motion to Correct Name

Errors [Doc. 11] regarding the Court’s Request for Waivers of Service [see Doc. 8].

           The pro se Plaintiff brought this action pursuant to 42 U.S.C. § 1983 addressing incidents

that allegedly occurred at the Alexander Correctional Institution. The Complaint passed initial

review on claims against Defendants D. Parlier and D. Carroll. [Doc. 7]. Requests for Waiver of

Service were sent to the North Carolina Department of Adult Corrections (NCDAC) for

Defendants “D. Parlier” and “D. Carroll” on March 20, 2024. [Doc. 8]. The time for waiver has

not yet expired.

           The Plaintiff now asks the Court to correct the service waivers to reflect the Defendants’

proper names.1 [Doc. 11]. This will be denied as moot because the service waivers were directed

to the correct Defendants in accordance with the Complaint.

           IT IS THEREFORE ORDERED that the Plaintiff’s pro se Motion to Correct Name

Errors [Doc. 11] is DENIED AS MOOT.




1
    This appears to refer to a typographical error in the Order on initial review.



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IT IS SO ORDERED.

                      Signed: June 26, 2024




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